       Case 3:09-cr-00013-LC    Document 69     Filed 03/20/09   Page 1 of 1

                                                                           Page 1 of 1


               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA
           Plaintiff,

vs.                                                      3:09cr13/LAC

MARVIN WAYNE JACKSON,
            Defendant.
_____________________________________________________________________

                       ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendant, MARVIN WAYNE JACKSON, to the indictment against him
is hereby ACCEPTED. All parties shall appear before this Court for sentencing as
directed.


      DONE AND ORDERED this 20th day of March, 2009.




                                      s /L.A. Collier
                                      LACEY A. COLLIER
                                      SENIOR UNITED STATES DISTRICT JUDGE
